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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF KENTUCKY
                                NORTHERN DIVISION
                                   AT COVINGTON

 NICHOLAS SANDMANN, by and                      :    CASE NO. 2:20-CV-00025-WOB-CJS
 through his parents and natural guardians,     :
 TED SANDMANN and JULIE                         :    Judge William O. Bertelsman
 SANDMANN,                                      :
                                                :    Magistrate Judge Candace J. Smith
        Plaintiff,                              :
                                                :
 v.                                             :
                                                :
 ABC NEWS, INC., ABC NEWS                       :
 INTERACTIVE, INC., and THE WALT                :
 DISNEY COMPANY,                                :
                                                :
        Defendants.
                                                :

                                     PROPOSED ORDER
       Before the Court is the Motion for Summary Judgment filed by Defendants, ABC News,

Inc., ABC News Interactive, Inc., and The Walt Disney Company. The Court, having reviewed

the parties’ briefs and the record before the Court, now GRANTS the Motion.

       It is hereby ordered that Defendants’ Motion for Summary Judgment is GRANTED, and

Plaintiff’s Complaint is dismissed with prejudice.


       SO ORDERED this                 day of              , 2022.
